The Honorable Claire C. McCaskill Missouri State Auditor 224 State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated March 12, 2004, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning the statutory initiative petition relating to electoral reform (version 2).  The fiscal note summary which you submitted is as follows:
  The proposed statutory change would have a zero estimated fiscal impact to the state and local governments.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                               JEREMIAH W. (JAY) NIXON Attorney General